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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                     )
BOSTON PARENT COALITION FOR                          )
ACADEMIC EXCELLENCE CORP.,                           )
                                                     )
       Plaintiff,                                    )
                                                     )
       v.                                            ) Civil Action No. 1:21-cv-10330-WGY
                                                     )
SCHOOL COMMITTEE OF THE CITY OF                      )
BOSTON, ALEXANDRA OLIVER-DAVILA,                     )
MICHAEL O’NEIL, HARDIN COLEMAN,                      )
LORNA RIVERA, JERI ROBINSON, QUOC                    )
TRAN, ERNANI DeARAUJO, and BRENDA                    )
CASSELLIUS,                                          )
                                                     )
       Defendants,                                   )
                                                     )
THE BOSTON BRANCH OF THE NAACP,                      )
THE GREATER BOSTON LATINO                            )
NETWORK, ASIAN PACIFIC ISLANDER                      )
CIVIC ACTION NETWORK, ASIAN                          )
AMERICAN RESOURCE WORKSHOP,                          )
MAIRENY PIMENTAL, and H.D.,                          )
                                                     )
       Defendants-Intervenors.                       )
                                                     )


  DEFENDANTS’ MOTION FOR 30-DAY EXTENSION OF TIME TO FILE ANSWER

       Defendants School Committee of the City of Boston, School Committee members

Alexandra Oliver-Davila, Michael O’Neil, Hardin Coleman, Lorna Rivera, Jeri Robinson, Quoc

Tran, and Ernani DeAraujo and Superintendent of Boston Public Schools Brenda Cassellius,

hereby move for a 30-day extension of time, up to and including April 21, 2021, in which to file

their Answer in this matter. Alternatively, Defendants request that the Court order that the

parties’ already-filed statement of agreed-upon facts and exhibits serve as Defendants’ Answer to

the Complaint.

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       In support of this motion, Defendants state:

       1)      Given the March 1, 2021 service of the Complaint, Defendants’ answer is

currently due to be filed by Monday, March 22, 2021.

       2)      However, as the Court is well aware, the parties have already submitted extensive

(nearly 2,000 pages worth) of agreed-upon facts and exhibits as evidence in this matter. The

parties, moreover, are working in earnest on their briefs on the merits with deadlines looming.

       3)      Under these circumstances, Defendants respectfully aver that having to

specifically answer the factual allegations in Plaintiff’s 25-page, 69 paragraph Complaint – not to

mention its 118 pages of attached exhibits – at this juncture of the proceedings would serve little

purpose other than to waste Defendants’ and its counsel’s valuable time.

       4)      Indeed, given the agreed-upon facts and exhibits and the Court’s previous

hearings in this matter, the parties’ relative positions are clear. Plaintiff cannot legitimately claim

that an Answer is necessary for the prosecution of its case at this time.

       5)      In the alternative, to the extent the Court deems an Answer necessary now,

Defendants respectfully request that the Court order that the parties’ already-submitted agreed-

upon facts and exhibits serve as Defendant’s Answer to the allegations in the Complaint.

       WHEREFORE, Defendants request a 30-day extension of time, up to and including April

21, 2021, in which to file their Answer in this matter. Alternatively, Defendants request that the

Court order that the parties’ already-filed statement of agreed-upon facts and exhibits serve as

Defendants’ Answer to the Complaint.




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                                             Respectfully submitted,

                                             SCHOOL COMMITTEE OF THE CITY OF
                                             BOSTON, ALEXANDRA OLIVER-DAVILA,
                                             MICHAEL O’NEIL, HARDIN COLEMAN,
                                             LORNA RIVERA, JERI ROBINSON, QUOC
                                             TRAN, ERNANI DeARAUJO, and BRENDA
                                             CASSELLIUS,

                                             By their attorneys,

                                             /s/John M. Simon
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                                             Catherine A. Lizotte (BBO #666468)
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                                             Legal Advisor
                                             Boston Public Schools
                                             2300 Washington Street Boston, MA 02119
                                             (617) 635-9250

Dated: March 19, 2021



                         Certification Pursuant to Local Rule 7.1(A)(2)

       I hereby certify that, pursuant to Local Rule 7.1(A)(2), Defendants’ counsel conferred
with Plaintiff’s counsel, Callan Stein, Esq., and unsuccessfully attempted to confer with
Intervenors’ counsel, Doreen Rachal, Esq., by email on March 19, 2021 regarding the subject
matter of this motion in a reasonable and good faith attempt to resolve and/or narrow the issues
addressed herein.

                                             /s/John M. Simon
                                             John M. Simon




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                                       Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and that paper copies will be sent by first class mail, postage prepaid, to those indicated as non-
registered participants on March 19, 2021.


                                              /s/John M. Simon
                                              John M. Simon




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